           Case 23-03017        Doc 30      Filed 03/13/24         Entered 03/13/24 09:40:40           Page 1 of 1




From:                 USBankruptcyCourts@noticingcenter.com
Sent:                 Tuesday, March 12, 2024 3:40 PM
To:                   CTBml_BNC
Subject:              U.S. Bankruptcy Court, District of Connecticut - Returned Mail Notice, In re: , Case Number:
                      23-03017, amn, Ref: [p-209398317]
Attachments:          R_P32303017pdfdoc20052.PDF



CAUTION - EXTERNAL:


Notice of Returned Mail to Court - Adversary Proceeding

March 12, 2024

From: The Bankruptcy Noticing Center

Re:   Returned Mail Notice - Adversary Proceeding

In re: Pacholyk, Plaintiff
      Manufacturers and Traders Trust Company, Defendant
      Adv. Proc. No. 23-03017 amn

The attached document was mailed to the notice recipient(s) listed below via the U.S. Postal Service, and it was returned to the
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Notice Recipient's Address on Envelope Returned to the Bankruptcy Noticing Center:

Katherine Pacholyk
62 Allison Drive
Madison, CT 06443-2174




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